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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    (Admitted pro hac vice)
    ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC, 1                                           Case No.: 21-30589 (MBK)

                                Debtor.                             Judge: Michael B. Kaplan


                                    MODIFIED LOCAL FORM
                          CERTIFICATION OF NO OBJECTION REGARDING
                       MONTHLY FEE STATEMENT OF BATES WHITE, LLC FOR
                   THE PERIOD OF DECEMBER 1, 2021 THROUGH DECEMBER 31, 2021
                                     DOCUMENT NO. 1389

             The court authorized, under D.N.J. LBR 2016-3(a), the Order Establishing Procedures for Interim
Compensation and Reimbursement of Retained Professionals [Dkt. No. 761] and Order Modifying Order
Establishing Procedures for Interim Compensation and Reimbursement of Retained Professionals [Dkt.
No. 870], compensation to professionals on a monthly basis. Under the Order Establishing Procedures for
Interim Compensation and Reimbursement of Retained Professionals [Dkt. No. 761], objections to the
Monthly Fee Statement filed on February 4, 2022 were to be filed and served not later than February 18,


1
             The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is
             501 George Street, New Brunswick, New Jersey 08933.
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2022. I, Paul R. DeFilippo certify that, as of February 23, 2022, I have reviewed the court’s docket in this
case and no answer, objection, or other responsive pleading to the above Monthly Fee Statement has been
filed.

Pursuant to D.N.J. LBR 2016-3, payment shall be made to the applicant upon the filing of this Certification.




 Date: February 23, 2022                                  ___/s/ Paul R. DeFilippo ______________
                                                           Signature




                                                                                                       rev.8/1/15
